                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
        Plaintiff,                           )
                                             ) Criminal Action No.
   v.                                        ) 07-00411-06-CR-W-HFS
                                             )
CRAIG MOSS,                                  )
                                             )
        Defendant.                           )

                                         ORDER

         Before the court are the government’s motion for detention and motion to continue

the detention hearing. Defendant appears in this court pursuant to a writ of habeas corpus

ad prosequendum. As a result, he is not entitled to be considered for bond. It is therefore

         ORDERED that the government’s motion for detention and motion for continuance

are denied as moot.




                                               /s/ Robert E. Larsen
                                             ROBERT E. LARSEN
                                             United States Magistrate Judge

Kansas City, Missouri
January 23, 2008




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